       Case
       Case2:20-cv-00063-JTJ
            2:17-cr-00023-DLC Document
                               Document58-3 Filed04/18/18
                                        44 Filed  05/20/22 Page
                                                           Page11of
                                                                  of77



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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                           BUTTE DIVISION

 UNITED STATES OF AMERICA,                   CR 17-23-BU-DLC

              Plaintiff,

       vs.                                   OFFER OF PROOF

 MARTIN JAMES WALSH,

              Defendant.


      The United States hereby files its Offer of Proof.

                                 THE CHARGE

      The defendant Martin James Walsh, is charged in the superseding

information with the crime of possession with intent to distribute 500 grams or




                                         1
       Case
       Case2:20-cv-00063-JTJ
            2:17-cr-00023-DLC Document
                               Document58-3 Filed04/18/18
                                        44 Filed  05/20/22 Page
                                                           Page22of
                                                                  of77



more of a substance containing a detectable amount of methamphetamine in

violation of 21 U.S.C. § 841(a)(1).

                              PLEA AGREEMENT

      Pursuant to a plea agreement, the defendant will plead guilty to the

superseding information. At the time of sentencing, the government will dismiss

the indictment if the Court accepts the plea agreement.

      The plea agreement entered into by the parties and filed with the Court

represents, in the government’s view, the most favorable offer extended to the

defendant. See Missouri v. Frye, 132 S. Ct. 1399 (2012).

                                      ELEMENTS

      In order for the defendant to be found guilty of possession with intent to

distribute methamphetamine as charged in the superseding information, the United

States must prove each of the following elements beyond a reasonable doubt:

      First, the defendant knowingly possessed methamphetamine;

      Second, he possessed it with the intent to distribute it to another person; and

      Third, he possessed with intent to distribute 500 grams or more of a
      substance containing a detectable amount of methamphetamine.




                                          2
       Case
       Case2:20-cv-00063-JTJ
            2:17-cr-00023-DLC Document
                               Document58-3 Filed04/18/18
                                        44 Filed  05/20/22 Page
                                                           Page33of
                                                                  of77



                                    PENALTY

      This offense carries a mandatory minimum punishment of ten years to life

imprisonment, a $10,000,000 fine, at least five years of supervised release, and a

$100 special assessment.

                           ANTICIPATED EVIDENCE

      If this case were tried in United States District Court, the United States

would prove the following:

      1.     That beginning in and about June 2016, and continuing thereafter until

on or about June 17, 2017, in Butte-Silver Bow, Madison, and Gallatin Counties,

in the State and District of Montana, the defendant, MARTIN JAMES WALSH,

knowingly and unlawfully possessed, with the intent to distribute, 500 grams or

more of a substance containing a detectable amount of methamphetamine, a

Schedule II controlled substance, in violation of 21 U.S.C. § 841(a)(1).

      2.     More specifically, on October 27, 2016, the South West Montana

Drug Task Force (“SWMDTF”) used a confidential informant (“CI 1”) to text

Walsh about purchasing methamphetamine the following day. Walsh responded

by saying yes come by, someone should be around. CI 1 texted Walsh and asked

if purchasing an 8 ball (1/8 oz) of meth was ok. Walsh responded he was cool

with it, and that one of us should be around. CI 1 texted again and asked Walsh

                                          3
       Case
       Case2:20-cv-00063-JTJ
            2:17-cr-00023-DLC Document
                               Document58-3 Filed04/18/18
                                        44 Filed  05/20/22 Page
                                                           Page44of
                                                                  of77



how much money to bring and Walsh replied $300. The following day CI 1 went

to Walsh’s home and purchased the methamphetamine from Walsh’s girlfriend.

      3.     On November 4, 2016, the SWMDTF used an agent in an undercover

capacity (“UC”) accompanied by CI 1 to make contact with Walsh for the purpose

of buying methamphetamine. The UC was provided with $700 in US currency

for the purchase of 1/4 ounce which is equivalent to two eight balls of

methamphetamine. A text message was sent by CI 1 to Walsh asking if CI 1 was

able to come to the residence. Walsh replied, “we are here.”

      4.     A short time later CI 1 and the UC pulled into the residence and

knocked on the door. They were met by Walsh and an unkown male. Walsh

told CI 1 to move the vehicle into the driveway so the neighbors wouldn’t be

suspicious of a vehicle parked across the street. CI 1 moved the vehicle, and re-

entered the residence to talk to Walsh. Walsh stated he would sell CI 1 ¼ ounce

of meth for $525. CI 1 counted the money for Walsh and Walsh told CI 1 that

$500 was good enough and he would give CI 1 a deal. Walsh handed a small

plastic baggie of meth to CI 1. CI 1 left the residence and drove back to the pre-

determined meeting location. The agents took custody of the drug evidence.

      5.     On June 10, 2017, Madison County Sheriff Roger Thompson received

information from a confidential informant (“CI 2”) that a person by the name of

                                         4
        Case
        Case2:20-cv-00063-JTJ
             2:17-cr-00023-DLC Document
                                Document58-3 Filed04/18/18
                                         44 Filed  05/20/22 Page
                                                            Page55of
                                                                   of77



Martin Walsh was living in Twin Bridges and was dealing a variety of drugs from

his home. Walsh was described as having many drug contacts in and around

Madison County.

      6.     Sheriff Thompson was aware of the two prior controlled purchases of

drugs in October and November 2016 from Walsh. Sheriff Thompson asked CI 2

to make contact with Walsh and attempt to purchase heroin. CI 2 contacted

Walsh via cell phone and Walsh invited CI 2 to his home to purchase illegal drugs.

CI 2 went to Walsh’s house and went inside. As short time later, CI 2 left the

location and met back with officers at a predetermined location. Police

continuously surveilled CI 2 during the drug transaction. CI 2 turned over to law

enforcement a package with a brown substance that was sold to him by Walsh. It

was field tested and tested positive for heroin.

      7.     Based upon the information from the controlled purchases, Sheriff

Thompson applied for and obtained a state search warrant for Walsh’s residence in

Twin Bridges, Montana. On June 17, 2017, officers executed the warrant.

During the search, officers found a digital scale, several glass smoking pipes, a

large box containing four bags of a white crystalline substance that tested positive

for methamphetamine. Walsh was home at the time of the search. He was

detained and read his Miranda rights. After Sheriff Thompson had found the

                                           5
       Case
       Case2:20-cv-00063-JTJ
            2:17-cr-00023-DLC Document
                               Document58-3 Filed04/18/18
                                        44 Filed  05/20/22 Page
                                                           Page66of
                                                                  of77



bag(s) with the meth, Walsh requested to speak with Sheriff Thompson. Walsh

stated that he had been selling ounces of meth in Madison County as well as

Bozeman and Butte. The amount of methamphetamine found in Walsh’s

residence was approximately 260 grams.

      8.    The investigation further showed that Walsh had been selling large

amounts of methamphetamine to one of his distributors. Sometimes Walsh

provided meth to this distributor on a front. In July, Walsh sold ½ ounce

quantities two times a week (4 ounces or 113 grams). The quantity of

methamphetamine Walsh sold to his distributor increased rapidly. By August

2016, the distributor was working full-time for Walsh and selling at least one

ounce of meth a week (8 ounces or 226 grams). Likewise, in September, Walsh

sold one ounce a week (113 grams). In October, Walsh sold a ¼ pound (113

grams) for $3200. In November, he sold a ½ pound (226 grams) for $5500 to

$6000. In December, he sold ¾ pound (340 grams) for $10,000. In January

2017 he sold a ¼ pound twice (226 grams).

      9.    The suspected methamphetamine found in Walsh’s residence on June

17, 2017, was sent to the DEA Western Regional Laboratory for testing. The




                                         6
       Case
       Case2:20-cv-00063-JTJ
            2:17-cr-00023-DLC Document
                               Document58-3 Filed04/18/18
                                        44 Filed  05/20/22 Page
                                                           Page77of
                                                                  of77



laboratory confirmed that the substance tested positive for methamphetamine a

Schedule II controlled substance.

      DATED this 18th day of April, 2018.

                                     KURT G. ALME
                                     United States Attorney

                                     /s/ Bryan R. Whittaker
                                     Assistant United States Attorney
                                     Attorney for Plaintiff




                                        7
